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                                    8
                                                                    UNITED STATES DISTRICT COURT
                                    9
                                                                   EASTERN DISTRICT OF CALIFORNIA
                                   10

                                   11
                                        TIMOTHY C. NELSON,                     )            CASE NO. 2:05-CV-1193 MCE-KJM
  275 Battery Street, Suite 2000




                                   12                                          )
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    San Francisco, CA 94111




                                                                Plaintiff,     )
      Gordon & Rees LLP




                                   13                                          )            ORDER GRANTING DEFENDANTS
                                                           vs.                 )            CALVIN HANDY, OFFICER JAVIER
                                   14                                          )            BARRAGAN AND OFFICER MARY
                                        CITY OF DAVIS, et al.,                 )            GARCIA’S APPLICATION TO
                                   15                                          )            EXCEED COURT’S PAGE LIMIT ON
                                                                Defendants.    )            MOTION FOR SUMMARY
                                   16                                          )            JUDGMENT
                                                                               )
                                   17   ______________________________________ )
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                                   19          The Application of Defendants Calvin Handy, Officer Javier Barragan and Officer Mary

                                   20   Garcia for permission to file a memorandum of points and authorities in support of their motion

                                   21   for summary judgment that exceeds the Court’s 20-page limit on moving papers having been

                                   22   considered by this Court, satisfactory proof having been made and good cause appearing,

                                   23          IT IS ORDERED that Defendants Calvin Handy, Officer Javier Barragan and Officer

                                   24   Mary Garcia may file a memorandum of points and authorities in support of their motion for

                                   25   summary judgment not to exceed 30 pages in length.

                                   26   Dated: November 3, 2006
                                   27                                           __________________________________
                                   28                                           MORRISON C. ENGLAND, JR
                                                                                UNITED STATES DISTRICT JUDGE
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